 Case 2:05-cr-00017-PLM          ECF No. 59, PageID.110           Filed 10/28/05      Page 1 of 1

                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION
                                ______________________

UNITED STATES OF AMERICA,

                Plaintiff,                            Case No. 2:05:CR:17-02
v.
                                                      HON. GORDON J. QUIST
SUSAN SOPHIE COOK,

            Defendant.
______________________________/

                                             ORDER

       The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the parties,

and no objection has been made thereto within the time required by law.

       THEREFORE, IT IS ORDERED that:

       1.       The Report and Recommendation of the Magistrate Judge filed October 14, 2005, is

approved and adopted as the Opinion and Findings of this Court.

       2.       Defendant Susan Sophie Cook's plea of guilty to Count One of the Indictment is

accepted. Defendant Susan Sophie Cook is adjudicated guilty and bond will be revoked at the time

of reporting.

       3.       Defendant Susan Sophie Cook shall self surrender to the Marquette County Jail in

Marquette, Michigan, by 3:00 PM, Tuesday, November 8, 2005. Defendant Susan Sophie Cook

shall be detained pending sentencing.

       4.       A decision of whether to accept the written plea agreement will be made at the time

of sentencing after the Court has had the opportunity to review the Presentence Investigation Report.

See U.S.S.G. Ch. 6.


Dated: October 28, 2005                                     /s/ Gordon J. Quist
                                                           GORDON J. QUIST
                                                      UNITED STATES DISTRICT JUDGE
